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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                        CR 19-58-BLG-SPW-1

                     Plaintiff,
                                                  ORDER
 vs.

 ADAM CLARK YOUNG,

                     Defendant.


       Defendant appeared before the Court on September 13, 2019, for a hearing

on the United States’ motion to revoke his pretrial release. Defendant waived a

hearing on the alleged violations of the terms and conditions of his release.

Therefore, based on the affidavit of PTSO Nickalas Buciuman, the Court finds by

clear and convincing evidence that Defendant violated the terms of his release as

set forth in the petition. (See Doc. 40-2.)

       The Court further finds there is no condition or combination of conditions

that will assure Defendant will not pose a danger to the safety of any other person

or the community. Further, the Court finds that Defendant is unlikely to abide by

any condition or combination of conditions of release. See 18 U.S.C. § 3148(b)(2).
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      Accordingly, IT IS ORDERED that the United States’ motion to revoke

Defendant’s pretrial release is GRANTED. Defendant is remanded to the custody

of the United States Marshals Service.

DATED this 13st day of September, 2019.

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                                         TIMOTHY J. CAVAN
                                         United States Magistrate Judge
